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                                          No. 18-112C

                                      (Filed: January 26, 2018)                            FILED
                                   NOT FOR PUBLICATION                                    JAN 2 6   2018

                                                                                      U.S. COURT OF
                                                                                     FEDERAL CLAIMS
MITCHELL T. TAEBEL,

                      Plaintiff,
                                                                Pro Se Complaint; Sua Sponte
                                                                Dismissal for Want of
                                                                Jurisdiction; RCFC 12(hX3).
THE UNITED STATES,

                      Defendant.



                                              ORDER

        The following items are cunently before the court in this matter: (l) the complaint
of pro se plaintiff Mitchell Taebel, ECF No. l , filed on January 23, 2018; and,
(2) plaintiff s application to proceed in forma oauperis, ECF No. 2, fied January 23,
2018. Because the court lacks jurisdiction over plaintiff s claims, the court must dismiss
this case pursuant to Rule l2(hX3) of the Rules ofthe United States Court ofFederal
Claims (RCFC). See RCFC 12(hX3) ("If the court determines at any time that it lacks
subject-matter jurisdiction, the court must dismiss the action.").

I.     Background

        Plaintiffls complaint states that it is a petition that "raises constitutional violations
by the city [Los Angeles] to the U.S. Court." Compl., ECF No. I at 1. Indeed, the
complaint names the City of Los Angeles as the defendant in this suit. Id. The
one-paragraph complaint alleges that local police and the district attorney violated
plaintiff s rights. Id. Plaintiff seeks monetary damages in the amount of $500,000,000.
Id.

IL     Pro Se Litigants

       The court acknowledges that pro se plaintiffs are not expected to frame issues with
theprecisionofacommonlawpleading. Rochev.USPS,828F.2dl555, l558(Fed.Cir.




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1987). Therefore, plaintiff s complaint has been reviewed carefully to ascertain whether,
given the most lavorable reading, it supports jurisdiction in this court.

IL     Jurisdiction

        "A court may and should raise the question of its jurisdiction sua sponte at any
time it appears in doubt." Arctic Corner. Inc. v. United States, 845 F.2d 999, 1000 (Fed.
Cir. 1988) (citation omitted). The Tucker Act delineates this court's jurisdiction. 28
U.S.C. $ l49l (2012). That statute "confersjurisdiction upon the Court ofFederal
Claims over the specified categories ofactions brought against the United States." Fisher
v. United States , 402 F .3d 1167 , 1172 (Fed. Cir. 2005) (en banc) (citations omitted).
These include money damage claims against the federal govemment founded upon the
Constitution, an act ofCongress, a regulation promulgated by an executive department,
any express or implied contract with the United States, or any claim for liquidated or
unliquidated damages in cases not sounding in tort. Id. (citing 28 U.S.C. $ 1a91(a)(1)).

III.   Analysis

        Plaintiffls complaint' alleges civil rights violations by the anesting police officers
and the district attorney in Los Angeles. It is well settled that violations of constitutional
rights, such as the rights to due process and equal protection, do not fall within this
court's jurisdiction. Brown v. United States, 105 F.3d 621,624 (Fed. Cir. 1997).
Further, the only proper defendant in this court is the United States. E&, United States v.
Sherwood, 312 U.S. 584, 588 (1941) (citations omitted). Because plaintiff seeks relief
based on civil rights violations committed by local police officers and a district attorney,
his claims are not within the jurisdiction of this court. E.g, Jefferson v. United States,
104 Fed.   Cl.8l,88-89 (2012).




I      The court notes that this is plaintiff s fourth complaint filed over the last two
weeks and assigned to the undersigned judge. See Taebel v. United States, Case Nos.        l8-
063C, 18-064C and 18-108C. The complaint in this matter asserts, more or less, the
same constitutional violations as those set forth in his three earlier cases. The only
material differences in plaintiff s cases are the arrest described in each suit and the
amount in damages claimed. The court has dismissed the complaints in Case Nos.
l8-063C, 18-064C, and 18-108C by separate orders onthis date.
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IV.    Conclusion

        The complaint in this case must be dismissed.2 Plaintiff s application to proceed
in forma pauperis is GRANTED for the limited purpose of determining this court's
jurisdiction. The Clerk of Court is directed to ENTER judgment for defendant
DISMISSING plaintiff s complaint for lack ofjurisdiction, without prejudice, pursuant
to RCFC l2(hX3).

       Additionally, the clerk's office is directed to return any future filings not in
compliance with this court's rules to plaintiff, unfiled, without further order of the court.
Further, because ptaintiff has repetitively filed complaints which needlessly consume the
resources of the court,3 the court enters the following anti-filing injunction:

               Mr. Taebel is immediately ENJOINED from filing any new
        complaints with this Court without first obtaining leave from the
        Chief Judge of the United States Court of Federal Claims to do so.
        Any motion for leave to file must include as an attachment a full
        complaint that meets all of the requirements of RCFC 8; in particular
        the complaint must identi$ the source of law supporting this court's
       jurisdiction over the claims asserted.

      Thus, the Clerk's Office is directed to reject all future complaints from Mr.
Taebel unless filed by leave of the ChiefJudge.

       IT IS SO ORDERED.




2       The court has considered transfer of this suit to another federal court, but declines
to do so because civil rights claims in Califomia are subject to a one-year statute of
limitations, a period which has run on the claims asserted here. See. e.s., Silva v. Crain,
169 F.3d 608, 610 (9th Cir. 1999).

3      In addition to the cases assigned to the undersigned judge, Mr. Taebel filed trvo
cases at the end ofDecember 2017, Case Nos. 17 -2034C and l8-25C, the latter of which
was dismissed for lack of iurisdiction.
